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                               United States District Court
                               Southern District of Texas
                                   Galveston Division

GalTex Pilots Service Corporation                  §
                                                   §
         Plaintiff                                 §        Civil Action No. 3:22-cv-45
                                                   §
versus                                             §        Federal Question
                                                   §
                                                   §
James Andrews, individually;                       §
John Mercadante, III, individually; and,           §
OnWatchEnterprises, LLC                            §
     Defendants                                    §


              Plaintiffs’ Notice re: Doc #28 and Rule 41 Joint Stipulation of
                                 Dismissal With Prejudice

To the Honorable Judge Andrew Edison:

         Plaintiff GalTex Pilots Service Corporation provides notice that Defendants have

fully complied with the settlement terms as instructed by the Court in its Order of June 13,

2022. Therefore, the parties, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

stipulate to the dismissal of this action with prejudice.

         Respectfully submitted,


With the Consent of:

 NICHOLS BRAR WEITZNER & THOMAS LLP                    THE CREW LAW FIRM

 By: /s/ Kip Brar                                      By: /s/ Paxton N. Crew
    Kip Brar                                             Paxton N. Crew
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 JAMES ANDREWS                                      GALTEX PILOTS SERVICE
                                                    CORPORATION

 THE VETHAN LAW FIRM, P.C.

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 JOHN MERCADANTE III, AND
 ONWATCH
 ENTERPRISES, LLC


                                      Certificate of Service

        I, Paxton N. Crew do certify that I filed the foregoing document with the Electronic

Case Filing System with the Southern District of Texas, Galveston Division on August 25,

2022.




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